Case 2:10-cv-08888-CJB-JCW Document 85355 Filed 04/20/11 Page 1 of 3

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Githatieet by Order of the Court, Civil Action No, 10 md 2178 Rec. Doc, 982
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ciate te HE i Sy ere eS el eT
By submitting thia document, | am asserting a cla d Petition of Triton Agsat Leasing GmbH, et
al., No. 10-2771; adopt and Incorporate the Master Answ-r (Rec, Doc. 244} te the Complaint and Patition of Triton
Aesot Leasing Gmbh, et al., in No. 10-2771; andor Intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc, 879} for private econamic losses ("Bt Bundie") fited in MOL No. 2178 (10 md 2179): and/or intervene
into, jain and otherwise adopt the Master Complaint (Rec. Doc. 881) for post-explosion Injuries (“B5 Bundte”}
filed in MDL No, 2179 (10 md 2179).

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INDIVIDUAL GLAIM - A "BORINESS.CLAIN =. /
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City / St

Mall Address

Crim flod with BP? ves 0 NO [7] Claim Filed wih GosF?; YES [) no ()

ft yes, BP Claim No. it yas, Clakmant Identification No.:

Inim Type (Please check ali that apply): ‘
Damage of destruction to real or personal praparty Faar of Future Injury anor Medical Monitoring

garningeProft Loss Loge ct Subsistence use of Natursl Resources
Personal injury/Death Removel and/or claan-up costs
‘ f

1 thie form should be filed with the U.5. District Court for the Eastern District of Loutsiana In New Orleans, Louisiane in Gril Action No. 10-Q888. While this Diract
Filing Short Form Is to ba fled In CA No, 10-8888, by price order of tha Court, (Rec. Doe, 246, C.A. Na, 10-2771 Bhd Rec. Doc. 982 In MD}, 2179), the filing of this farm
in CA, No. 10-2888 shall be deemed to be simuttaneousty fed in CA, 10-2771 and MO4 2179, Plaintiff Lisison Counsel, after baing natified electronically by the Clerk

of Court af the filing of this Short Form, shall promptly carve this form through the Lente Naxit service system on Defensa Llalson.
: 41

The fing of this Direct Fiting Short Form shall also serve in lieu of te requirement of e Plaintit ta fie a Plaintiff Profile Form.
Case 2:10-cv-08888-CJB-JCW Document 85355 Filed 04/20/11 Page 2 of 3

Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/12 Page 2 of 3

‘Brief Description:

4. er eamings/profit ‘oss, property damage end lose of oubsistonce use claims, describe the nature of the Injury. For claims
involving real estate/property, include the property location, lype of property (residentialfcommercial), and whether physical
damage occurred. For claims relating to fishing of any type, Include the type and loeation of fishing grounds at seus,

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2. For partonal injury claims, describe the injury. how and when K was sustained, and identify all health caro providers a
employers 2008 to proseni and complete authorization forms for each. wy, \ Amste innmy

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3. for post-exptosion calms related to reup for rameval, include your role in the c pnp cilvities, tha name of your
employer. and where you ware working.

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_ Case 2:10-md-02179-CJB-SS Document 963-3 Flied 01/12/11 Page 3 of 3

(es) below that

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you think apply to you and your claims:

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crabbing or oystering,
Sanfood processor, distributor, retall and seafood marts, or restaurant owner and operator, or en employee Inereof.

Recreational businace owner, oporator or worker, lactuding @ recreational fishing business, commercial guide service, or charter
fishing buainess who eam their living through the use of the Gulf of Maxico.

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KO Commercial business, business owner, operator or worker, Inciuding commercial divers, offsnore oilfield benice, fapaly and
supply, raal estete agents, and supply companies, of an employee thereof,

MG. Recreatonal spart fishermen, recreational diver, beachgeer, or recreational poater.

a Plant and dock worker, including commercial seafoad plant Worker, langshoreman, or ferry operator.
T

Owner, \gnvor, or tesses of real property alleged tc be damaged, harmed or impacied, physically or economically, incuding
lecraes of oyster beds.

8. Hotel owner and operator, vacation rental owner and agent, or en incee who earn their living from the touriem Indusiry.
xe Bank, financial Institution, of retall business that suffered ‘csees as 6 resuit of the apil,
Co. Person.whe utilizes natural resourese tor subsictence,

‘ S v4 i A. Cudine \otra: wit marine. \ i
Osi xplosion Persona u Medical Mon DFG and Property Damage Related 5 Cleanun SURCIG Be
Boat caplain or ctow Invaived in the Vessels af Opportunity program.

Worker involved In decontaminating vessels that came into contact with of and/or chemical dispersanta.

Veesn! captain of crew who wes not Involved in tha Vassels of Oppartunity program but wha were exposed to harmfut chemicals,
odors and emissions during post-explosion clebn-up activities,

Clean-up workor ar beach personnel involved In clean-up activillas along shorelines and Intercoastal and Intertidal zones.

Resident wha ives or works in clase proximity to coastal waters.

Acth BP and the Gulf Coaet Clalms Facili
2179 all information and documents submi

OPO

tha Plaigtiff (or his attomey if app, jcable) fillng this form and PSC through Plaintiff Llaison Counsel,

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, rhe fling of this Direct Filing Short Form shalt also aerve in lis: of the requirement of » Plinth to fle « Plakrely Profile Form.

Gommercial fisherman, shrimper, crabber, or oysterman, of the owner end oparator of » businats involving fishing, shrimping.

11, Other ( LOSOR OF Aro WP no LT \' \ Resavr eS Lor
KN. pS 203 Mabuca) “Ee. ‘tne

ty ((GCCF”) are hereby authorized to release to the Defendanta In MDL
ited by above-named Plaintiff and Information regarding the status of any
payment on the claim, subject to such information baling trea.ad as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to beth

